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                    IN THE UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

IN THE MATTER OF                    )
                                    )
VICKI ESRALEW                       )
                                    )
      Debtor,                       )
____________________________________)
                                    )                 No. 04 A 3774
ROLLIN SOSKIN, et. al.              )
                                    )                 Judge Goldgar
             Plaintiffs             )
                                    )
             v.                     )
                                    )
VICKI ESRALEW                       )
                                    )
             Defendant              )


                 DEFENDANT’S MOTION IN LIMINE TO EXCLUDE
             TESTIMONY OF ROBERT BLAGMAN AND PETER ABRUZZO

       Defendant, VICKI ESRALEW (“Esralew”), by and through her attorneys, ASHMAN &

STEIN, respectfully moves this Honorable Court for the entry of an Order in limine barring the

testimony of Robert Blagman and Peter Abruzzo regarding (i) any specific event(s) that either of

them has witnessed; and (ii) any specific information which either of them may possess

regarding any issues in this case. In support thereof, Esralew states as follows:

        On June 27, 2005, Esralew propounded the following interrogatory to Plaintiffs:

       3.      For each person identified in response to interrogatory no. 2, please state with
               specificity the event(s) they claim or are believed to have witnessed and state with
               specificity the information you believe they possess.1



       1
               Messrs. Blagman and Abruzzo were identified in response to Esralew’s
interrogatory No. 2.

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       Plaintiffs’ responses to said interrogatory, for both Robert Blagman and Peter Abruzzo, as

well as for each of the Plaintiffs, were precisely the same, to wit:

       facts surrounding entry into agreement and advisors consulted; Defendant’s
       sophistication, unclean hands, including but not limited to evidence that Defendants never
       intended to honor the agreement of the parties, Defendants’ fraudulent inducement of
       Plaintiffs, Defendants’ statements against interest, Defendants’ fraud, breach of contract
       and breach of fiduciary duties.

[Exhibit A]2

       Plaintiffs’ interrogatory responses fail to indicate a single event that either Blagman or

Abruzzo witnessed or are believed to have witnessed. Nor do said responses identify any specific

information that either of these persons is believed to possess. Simply, Plaintiffs’ responses are

so lacking as to constitute no response at all.3

       Esralew did not take the depositions of Blagman or Abruzzo, but did take the depositions

of Eugene Terry (“Terry”) and Rollin Soskin (“Soskin”) who, according to their responses to

Esralew’s interrogatories, witnessed the exact same events and possessed the exact same specific

information as Messrs. Blagman and Abruzzo. Neither Terry nor Soskin gave any testimony

during their depositions that would indicate that either Abruzzo or Blagman had witnessed any

particular event or possessed any specific information that was particularly relevant to any




       2
             Plaintiffs’ responses were provided by Plaintiffs Eugene Terry and Rollin Soskin,
each of whom is an attorney.
       3
              Initially, the Complaint herein named three defendants. Plaintiffs have failed to
supplement their interrogatory answers to indicate which of these three defendants Messrs.
Blagman and/or Abruzzo were referring to.

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contested issue in this case. 4

        In the case of a party’s “failure...to serve answers or objections to interrogatories,” FRCP

Rule 37(d) authorizes the Court to “make such orders in regard to the failure as are just,”

including “prohibiting that party from introducing designated matters into evidence.” The Rule

also provides, in pertinent part, as follows:

                A party that without substantial justification fails to disclose information
                required by Rule 26(a) or 26(e)(1) shall not, unless such failure is
                harmless, be permitted to use as evidence at a trial, at a hearing, or on a
                motion any witness or information not so disclosed.

The burden of establishing substantial justification and harmlessness is upon the party who is

claimed to have failed to make the required disclosure. Nguyen v. IBP, Inc, 162 F.R.D. 675, 680

(D. Kansas 1995)

        When considering whether to exclude testimony, courts generally look to, among other

things, the validity of the excuse offered by the offending party, the willfulness of the party's

failure to comply with the Court's order, the party's intent to mislead or confuse his adversary,

and the importance of the excluded testimony. Stewart v. Walbridge Aldinger Co., 162 FRD 29,

31 (citing: Meyers v. Pennypack Woods Home Ownership Ass'n, 559 F2d 894, 904 (3rd Cir.

1977). Based on these considerations, the court must weigh (1) the prejudice or surprise to the

party against whom the excluded witness would have testified; (2) the party's ability to cure the

prejudice; (3) the extent to which calling undisclosed witnesses would disrupt the trial process;

and (4) bad faith or willfulness in failing to comply with the Court's Orders, Finch v. Hercules,


        4
               Because Plaintiffs’ interrogatory responses admit that neither Blagman nor
witnessed any events or possessed any specific information that Messrs. Terry and Soskin didn’t
also witness and possess, any remaining testimony Blagman or Abruzzo might have to offer
would be nothing more than duplicative.

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Inc., 1995 U.S. Dist. LEXIS 19805.

        In the instant case, Plaintiffs have shown no justification, let alone a "substantial

justification", for their failure to disclose the events and/or specific information that either

Blagman or Abruzzo ever witnessed or possessed, if any. Rather, if either of these individuals

had, in fact, witnessed any events or possessed any specific information that was relevant to any

contested issue in this case, the record shows that Plaintiffs intentionally failed to disclose same

until well after the extended discovery closure date (October 14, 2005). Indeed, it wasn’t until

April 17, 2006, that Plaintiffs first proffered the affidavits of Blagman and Abruzzo (in support

of Plaintiffs’ opposition to Esralew’s motion for summary judgment) which, if truthful, establish

that Plaintiffs’ responses to Esralew’s interrogatory were substantially inaccurate or incomplete.5

        Moreover, if Messrs. Blagman and/or Abruzzo witnessed any events or possessed any

specific information relevant to Plaintiffs’ claims, there is no excuse for Plaintiffs failure to

disclose same in a timely manner. They chose to respond to the Esralew’s interrogatories in the

way they did; and they must now live with their decision. Plaintiffs shouldn't be allowed to profit

from their failure to comply with their discovery obligations.

        Nor was Plaintiffs’ failure or refusal to disclose the events or specific information that

Blagman and/or Abruzzo purportedly witnessed or possessed (if any) "harmless". Indeed,

Plaintiffs obviously believed that Blagman and Abruzzo had something relevant enough to say

that they belatedly sought to include their affidavits in their opposition to Esralew’s motion for

summary judgment; and have now included them in their witness list.


        5
               The Pretrial Order, entered shortly after Esralew’s said motion was denied and
shortly before Esralew substituted counsel herein, also provides that discovery was closed.


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       Finally, there is no question but that Esralew would be prejudiced if Messrs. Blagman and

Abruzzo are allowed to testify at trial with respect to events and/or specific information which

Plaintiffs failed to disclose until more than six full months after the final discovery closure date

herein. Because of Plaintiffs’ failure to disclose, Esralew did not have the opportunity to

adequately prepare for such testimony; and there is no reasonable way to cure that prejudice.

       Because Plaintiffs failed to identify or disclose any specific event that either Mr. Blagman

or Mr. Abruzzo witnessed, neither should be permitted to testify as to any such event. Likewise,

because Plaintiffs failed to identify or disclose any specific information either of them possess,

neither of them should be permitted to testify as to any such information.

                                    CONCLUSION

       For the reasons set forth above, Plaintiff respectfully requests an Order in limine

precluding Plaintiffs and their counsel from eliciting any testimony from either Robert Blagman

or Peter Abruzzo regarding (i) any specific event(s) that either of them has witnessed; and (ii)

any specific information which either of them possess regarding any issue in this case.

                                                       Respectfully submitted,

                                                       VICKI ESRALEW

                                                       BY:/s/ Carey M. Stein
                                                       One of Defendant’s attorneys


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